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                    EXHIBIT 2
   Case 2:21-cv-10225-NGE-PTM ECF No. 177-2,
                                      170-2, PageID.2171
                                             PageID.2078 Filed 08/30/24
                                                               08/22/24 Page 2 of 2
                                      3621 S State St              West, Anthony C
                                      Ann Arbor MI 48108           MRN: 100473396, DOB: 11/25/1969, Legal Sex: M
                                       Notes Report                Adm: 11/14/2019, D/C: 11/14/2019




Progress Notes by Bedair, Ennis Malik, BDS at 11/14/2019 8:00 AM (continued)
ORAL: Malampati class 2. Tooth #32 is complete bony impacted. Remainder of dentition is grossly intact. No
concerning lesions or masses noted in oral cavity or oropharynx.
CV: RRR, no abnormal sounds.
PULM: Unlabored breathing, symmetric chest expansion, CTAB, no w/r/r.
NEURO: AOx3. CN II-XII grossly intact, no focal findings.

Local anesthetic:
3 carpules of 2% Lidocaine with 1:100,000 epi was injected to achieve right IAN block.


Procedure:.

A 15 blade was used to make a distal releasing incision in the area of tooth #32. A full thickness
mucoperiosteal flap was elevated. Tooth #31 was elevated, luxated and delivered with forceps without any
complications. Buccal bone was relieved using a TPS drill with fissure bur. Tooth #32 was elevated and
delivered with forceps. IAN was not visualized. The lingual plate was intact. Normal saline was used to irrigate
the socket and under the flap. Hemostasis was achieved by local pressure with gauze and 3-0 chromic gut
sutures.

Post-operative instruction were given to the patient and escort in both written and verbal form. The patient was
instructed to continue bitting firmly on the gauze for 30min and to ice the side of the face. They were instructed
to contact the clinic or OMFS resident on call (if after hours) with question.

Post-Operative Medications: Oxycodone 5mg, Peridex, Ibuprofen 600mg and Tylenol 500mg

Thank you for allowing us to participate in the care of this patient. If we can be of any assistance, please feel
free to contact us at 734-936-5950.

Extraction Procedure:
#31 simple extraction
#32 - complete bony and surgical extraction

Nicole Naidoo, DMD
11/14/2019



I was present for the entire procedure.

Ennis Malik Bedair, BDS

   Signed by Bedair, Ennis Malik, BDS on 12/18/2019 11:44 AM

Progress Notes by Kim, Albert C, MD at 2/14/2023 10:26 AM
   Author: Kim, Albert C, MD           Service: —                              Author Type: Physician
   Filed: 2/15/2023 5:17 PM            Encounter Date: 2/14/2023               Note Type: Progress Notes
   Status: Signed                      Editor: Kim, Albert C, MD (Physician)


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